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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION



EILEEN MCMURRAY,                                                                   PLAINTIFF

V                                     Case No: 4:13 CW-388-JLH

METRO COLLECTION SERVICE INC. &
FORUM REAL ESTATE
GROUP                                                                              DEFENDANTS


                         NOTICE OF SETTLEMENT and
             JOINT MOTION TO DISMISS ALL CLAIMS WITH PREJUDICE


       COMES NOW, all parties, and for their Notice of Settlement and Joint Motion to

Dismiss with Prejudice, state as follows:

       1.      This matter has been settled to the satisfaction of the parties, who have drafted

and executed a mutually agreeable release that includes an agreement that all claims will be

dismissed with prejudice.

       2.      The parties move that this case be dismissed with prejudice.

                                             Respectfully submitted,

                                             Leigh Law LLC
                                             Post Office Box 21514
                                             Little Rock, Arkansas 7222
                                             501.227.7627

                                             By:     ___/s/ Victoria Leigh _______________
                                                       Victoria Leigh ABN: 2011257
                                                            Counsel for Plaintiff
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                           By:    ___/s/ Bryan E. Schmid_______________
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                           By:    ___/s/ Cade Cox______________
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